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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THOMAS SIERRA,                               )
                                             )      No. 18 C 3029
       Plaintiff,                            )
                                             )      Magistrate Judge M. David Weisman
               v.                            )
                                             )
REYNALDO GUEVARA, et al.,                    )
                                             )
       Defendants.                           )

                                            ORDER

       Non-party Sharone R. Mitchell, Jr., Cook County Public Defender (“CCPD”), asks the
Court to quash or modify the subpoena plaintiff served on him. For the reasons set forth below,
the Court grants the motion [287].

                                          Background

        On December 21, 2020, plaintiff served on the CCPD a subpoena to produce more than
500 case files. (See ECF 287-1.) In March 2021, plaintiff’s counsel, who are also counsel for the
plaintiff in Reyes v. Guevara, 18 C 1028 (N.D. Ill.), served on the CCPD a subpoena to produce
263 case files. (See ECF 287-2, 287-3.) Together, these subpoenas ask the CCPD to produce more
than 800 files, which is four times the number of files the CCPD is normally requested to produce
in a calendar year. (ECF 287 at 2.)

        After a labor-intensive process, the CCPD has identified warehouse box numbers for 145
of the files subpoenaed in Reyes and 300 of the files subpoenaed in this case. (Id. at 3.) The
CCPD’s sole warehouse employee is now trying to determine how many of the boxes can be
located in the warehouse. (Id.) Assuming the boxes containing these files are located, the files
will then be sent to the CCPD’s offices, where the files will be reviewed and privileged documents
will be removed and scanned. (Id. at 3-4.) After that process is complete, the remaining documents
can be reviewed by the attorneys who have requested them.

                                           Discussion

        In relevant part, Federal Rule of Civil Procedure 45(d)(3)(A) states: “On timely motion,
the court for the district where compliance is required must quash or modify a subpoena that . . .
subjects a person to undue burden.” To determine whether a subpoena subjects the respondent to
undue burden, “courts consider a number of factors, including the person’s status as a non-party,
the relevance of the discovery sought, the subpoenaing party’s need for the discovery, and the
breadth of the request.” Uppal v. Rosalind Franklin Univ. of Med. & Sci., 124 F. Supp. 3d 811,
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813 (N.D. Ill. 2015). “[C]oncern for the unwanted burden thrust upon non-parties is a factor
entitled to special weight in evaluating the balance of competing needs.” Id. (emphasis in original).

        At a conceptual level, the files plaintiff seeks are relevant to his broadly-framed Monell
claim. (See ECF 185 ¶¶ 161-720.) If an exculpatory piece of evidence from CPD’s Area 5
homicide investigation files never made its way to the CCPD’s files, that could suggest that the
City has a policy, practice, or custom of suppressing exculpatory materials. However, as
defendants point out, police officers have a duty to disclose exculpatory evidence to prosecutors,
not to defense counsel. Carvajal v. Dominguez, 542 F.3d 561, 566 (7th Cir. 2008) (“While [Brady
is] most commonly viewed as a prosecutor’s duty to disclose to the defense, the duty extends to
the police and requires that they similarly turn over exculpatory/impeaching evidence to the
prosecutor, thereby triggering the prosecutor’s disclosure obligation.”). Thus, defendants say, a
better comparison is between the CPD’s files and the files of the Cook County State’s Attorney’s
Office (“CCSAO”). The Court agrees that the CCSAO’s files are relevant, but that does not mean
the CCPD’s files are not. What it does mean is that the CCPD’s production of its files will lead to
another discovery thicket—the production of the corresponding files of the CCSAO. (Id.)

         This labyrinth of discovery is intended to determine if exculpatory evidence made it from
CPD to CCPD. But not every criminal investigation produces constitutionally-defined exculpatory
evidence. An actual Brady violation requires a post facto analysis to determine if the suppressed
piece of evidence would have been material to the outcome of the criminal proceeding. See Smith
v. Cain, 565 U.S. 73, 75 (2012) (“[E]vidence is ‘material’ within the meaning of Brady when there
is a reasonable probability that, had [it] been disclosed, the result of the proceeding would have
been different.”). Adding further complication to the materiality component, a Brady violation
requires consideration of the totality of evidence that was suppressed, not simply assessing each
piece of evidence in seriatim. See Goudy v. Basinger, 604 F.3d 394, 400 (7th Cir. 2010).

        Putting aside the materiality component of the Brady analysis, the suppressed evidence
must be exculpatory. Assessing whether evidence is exculpatory is not a simple binary analysis.
See e.g. Camm v. Faith, 937 F.3d 1096, 1109-10 (7th Cir. 2019) (no duty to disclose “latent
exculpatory evidence . . . evidence that requires processing or supplantation to be recognized as
exculpatory,” but failure to disclose that a forensic examination was not done when investigators
promised to conduct the test is exculpatory); see also United States v. Agurs, 427 U.S. 97, 109
(1976) (stating that “there are situations in which evidence is obviously of such substantial value
to the defense that elementary fairness requires it to be disclosed even without a specific request”
while also acknowledging the range of evidence that might not be obviously exculpatory). For
example, a murder witness’s statement that he did not actually see the shooter is not necessarily
Brady material. See id. n.21 (“If, for example, one of only two eyewitnesses to a crime had told
the prosecutor that the defendant was definitely not its perpetrator and if this statement was not
disclosed to the defense, no court would hesitate to reverse a conviction resting on the testimony
of the other eyewitness. But if there were fifty eyewitnesses, forty-nine of whom identified the
defendant, and the prosecutor neglected to reveal that the other, who was without his badly needed
glasses on the misty evening of the crime, had said that the criminal looked something like the
defendant but he could not be sure as he had only had a brief glimpse, the result might well be
different”). True, a skilled defense attorney might be able to develop an argument that if Witness
A did not see the shooter, but Witness B, who was sitting next to Witness A, did identify the

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shooter, maybe Witness B was lying. But Brady requires the government to disclose evidence that
is material to guilt or punishment, not “to divulge every possible shred of evidence that could
conceivably benefit the defendant,” United States v. Hamilton, 107 F.3d 499, 509 (7th Cir. 1997),
and plaintiff does not know which, if any, of the CCPD’s files should contain exculpatory
evidence.

        As noted supra, plaintiff’s discovery approach of requesting wholesale copying of CCPD
files without any inkling as to whether these files have any relevant information imposes a
significant burden on the CCPD, a public agency with limited funds that is tasked with providing
one of the most important public services in our criminal justice system. 55 Ill. Comp. Stat. 5/3-
4006 (“The Public Defender, as directed by the court, shall act as attorney, without fee, before
any court within any county for all persons who are held in custody or who are charged with the
commission of any criminal offense, and who the court finds are unable to employ counsel.”).
Given that plaintiff seeks to impose this burden before reviewing the CPD files already in his
possession to determine which CCPD files ought to contain exculpatory evidence, the Court holds
that the burden to CCPD outweighs the discovery’s benefit to plaintiff. Builders Ass’n of Greater
Chi. v. City of Chi., 215 F.R.D. 550, 553 (N.D. Ill. 2003) (Rule 45 requires a court to determine
whether “the burden or expense of the proposed discovery outweighs its likely benefit, taking into
account the needs of the case, the amount in controversy, the parties’ resources, the importance of
the issues at stake in the litigation, and the importance of the proposed discovery in resolving the
issues.”). 1 Accordingly, the Court grants CCPD’s motion to quash [287].

SO ORDERED.                                         ENTERED: September 20, 2021




                                                    M. David Weisman
                                                    United States Magistrate Judge




1
 Plaintiff has offered to take various steps, such as paying for movers to move the boxes from CCPD’s warehouse to
a staging area (ECF 310 at 9-11), to alleviate the burden on CCPD. While the CCPD acknowledges these offers, he
says they will not appreciably lessen the burden associated with complying with the subpoena. (ECF 287 at 3-4.)

                                                        3
